                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



University of California Student Association            Case No 1:25-cv-00354-RDM

   Plaintiffs,

       v.                                               Judge Randolph D. Moss

Denise Carter, in her official capacity as
Acting Secretary of Education, et al.,

   Defendants.



                           DECLARATION OF ADAM RAMADA

  1. My name is Adam Ramada. I am currently employed at the United States DOGE Service
     (“USDS”), formerly known as the United States Digital Service. I started serving in this
     role on January 23, 2025. The following is based on my personal knowledge or
     information provided to me in the course of performing my duties.

  2. Founded by President Obama in 2014, the United States Digital Service worked with
      various federal agencies to, among other things, repair and improve the federal
      government’s information technology and data organization systems.

  3. On January 20, 2025, President Trump issued Executive Order 14,158, redesignating the
     United States Digital Service as the United States DOGE Service. The E.O. directs the
     USDS to modernize government technology and software to increase efficiency and
     productivity and to follow rigorous data protection standards and comply with all relevant
     laws when accessing unclassified agency records, software systems, and IT systems. It
     likewise directs agencies to ensure USDS has full access to all unclassified agency
     records and software and IT systems.

  4. I have been detailed to the Department of Education since 28 January 2025 to, among
      other things, assist the Department of Education with auditing contract, grant, and related
      programs for waste, fraud, and abuse, including an audit of the Department of
      Education’s federal student loan portfolio to ensure it is free from, among other things,
      fraud, duplication, and ineligible loan recipients. In addition, I help senior Department
      leadership obtain access to accurate data and data analytics to inform their policy




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   decisions at the Department. One other USDS employee is also currently detailed to the
   Department of Education to assist me.

5. Two additional federal government employees from other agencies are detailed to the
   Department of Education to assist me with the above-described tasks.

6. At least two Department of Education employees are likewise helping me with these
   tasks.

7. All six employees listed above, including myself, are employees of the federal
   government, attended an ethics briefing, received information security training, and
   signed an information technology rules of behavior and user agreement for privileged
   users.

8. The relevant employees are aware of and familiar with the rules governing access to
   Department of Education data systems and are complying with these rules to the best of
   their knowledge.

9. The relevant employees require access to Department of Education information
   technology and data systems related to student loan programs in order to audit those
   programs for waste, fraud, and abuse.

10. The Department of Education receives certain tax records from the Department of the
    Treasury for purposes of effectuating certain student loan programs. It is my
    understanding that these records are protected from unauthorized access and disclosure
    by federal law.

11. The relevant employees have thus far not accessed any tax-related information. They
    will do so in the future only with appropriate authorization and for purposes consistent
    with applicable law, such as conducting analyses to estimate costs related to student loan
    repayment plans, awards, or debt discharges.

12. The relevant employees will not access any database requiring a security clearance
    without first obtaining the appropriate clearance

13. The relevant employees report to the Office of the Secretary of Education and her
    designees and—like other Department of Education employees—are required to act in
    accordance with the directions and guidance of the Department’s senior leaders.

14. The relevant employees perform Department of Education work using Department
    computers and other information technology assets.




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15. To my knowledge, the “home” agencies of all detailed employees mentioned above have
    agreements in place with the Department of Education governing the detail of the listed
    employees to the Department of Education.

16. The employees listed above understand that—like all Department of Education
   employees—they must comply with all applicable laws and regulations should they wish
   to share any information garnered during their work with federal employees outside the
   Department of Education.

17. Finally, like any other government employees, Education employees are required to abide
   by all applicable federal rules and regulations regarding data privacy and other topics.

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   I declare under penalty of perjury that the foregoing is true and correct.

   Executed in Washington, DC this 13th day of February.


                                                 __________________________
                                                 Adam Ramada




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